907 F.2d 1137Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re Ronald GRAHAM, Petitioner.
    No. 90-8003.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 19, 1990.
    
      On Petition for Writ of Mandamus.
      Ronald Graham, appellant pro se.
      PETITION DENIED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronald Graham brought this mandamus petition seeking an order directing the magistrate to act in his 42 U.S.C. Sec. 1983 suit.  The magistrate last acted in April 1990.  Under these circumstances, we hold that the magistrate has not unduly delayed acting on Graham's suit.  We therefore grant permission to proceed in forma pauperis and deny mandamus relief.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not significantly aid in the decisional process.
    
    
      2
      PETITION DENIED.
    
    